                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)



UNITED STATES OF AMERICA                      )
                                              )
               v.                             )
                                              )              Crim. No. CCB 16-0430
MAHMOOOD HUSSAIN SHAH,                        )
            Defendant                         )
                                              )
                                              )



                         Defendant’s Reply to Government’s Response
                               To Defendant’s Motion to Vacate


The Government makes several assertions which do not alleviate it of its duty to share whatever
evidence it has seized from the Defendant with him in a timely manner. The Government
provided critical video evidence (6) six months after the trial and seeks to shift the burden on the
Defendant to repeatedly ask for it.

The Government contends that the Defendant was aware of the existence of the video and was
made aware of the Government’s Difficulty in accessing it. Its’ contention that the Defense was
aware it relies upon an obscure reference to a property receipt which refers to “Activision Video
System s/n 081157030073”.

Such a reference does satisfy the very specific request that the defendant made in this request
for discovery seeking to view it. The Defendant asked The Government to:

        “ 2. reveal and disclose the nature result and reports of any scientific test physical or
       mental examination or tests or measures or experiments made in connection with this
       case whether completed or not, including but not limited to analysis of tape recordings or
       wire taps, hand writing analysis fingerprint comparison and or voice identifications.
       “(Page 2 - Defendant’s Request for Discovery- Document 85 filed 12/19/17)

       The Defendant could not be more specific in its request to:

       3. Permit the Defendants attorney to inspect and copy or photograph all books papers
       documents and photographs videotaped motion pictures mechanical or electronic
       recordings buildings and places, crime scenes or tangible objects and all copies and
       portions thereof which are within the possession custody or control of The Government
       and which are material to the preparation of the Defendant’s Defense, or might possibly
       be used by The Government as evidence during the presentation of its case in chief or
       its case, or which are obtained from or belong to the Defendant
        (Page 3 - Defendant’s Request for Discovery- Document 85 filed 12/19/17)

       The Defendant concluded that this motion for discovery was continuing in nature.

The Government offers no explanation as to why it made representations to the Defendant’s
attorney when he appeared in the Government’s office on Wednesday January 31st, 2018 to
examine all evidence, that there was no more evidence it intended to introduce or belonging to
The Defendant. If it were actively working on it, it had a duty to disclose this to the Defense.
According to the government I was only made to know of the efforts on February 9th. After The
Defense had appeared in their office and been misled into thinking there was nothing else in the
Government’s possession which may be of interest to the Defense in preparing its case. It was
as if the Government began some shell game with the evidence.

After this meeting on February 5th, 2018, the Government filed its Reply to my Motion for
Discovery and stated that;

       “The Government has complied with all of it discovery obligations under Rule 16, Brady
       and Giglio, and the Discovery Agreement”.

       The Government further indicate that:

       “The Defendant has not made any particularized showings of any discovery dispute”.

       (Both quotes found on page 2 of Document 92- Attached as Exhibit A)

       In Essence The government was requiring the Defense to know what it does not know
       and faulting itself for believing in the personal assurance of the Government’s Counsel
       that there was no more evidence in their possession of control.


       The Government Concedes it has not complied with Rule 16, Without Justification


       The Government had not complied with Rule 16 as asserted:

Rule 16(a)(1)(E) provides:

Upon the Defendants request, the Government must commit to defendant to Inspector and copy
and photograph books papers documents and data photograph tangible objects building a
places or copies of portions of any of these items if the item is within the Governments
possession, custody or control where;

1. The item is material to prepare the defense.

2. The government intends to use the item in this case in chief a trial or

3. The item was obtained from or belonging to the defendant.

The Government could decide not to use the video evidence, but it could not deny the
Defendant access to it, after the request to see it. If the Government had provided the Defense
with access to the corrupted and inaccessible DVD, it would has satisfied its obligation under
Rule 16. The Defendant need not ask repeatedly. Its written request on December 19,2017 and
its presence in the US Attorney’s office was the first request. The second was the oral request
on January 31st, 2018 while looking through what was stated as being everything else.


The Government contends that the Defense “did not ask” about video evidence. The Defense is
now faulted for believing the Government’s misrepresentations. In the vernacular of the streets
of Baltimore, the Defendant is marked the sucker for believing the Government’s written and
personal misrepresentations of the truth.

              The Defense Was Never made aware that The Government was
             having difficulty accessing video evidence seized from the store.

The Government contends that the Defendant was made aware that it was having difficulty
accessing the video files. It contains that it advised defendant's counsel of the difficulty by
generously revealing internal communications between it's lead investigator and another office
in a February 9th email to the Defense. The Defense denies this, and The Government does not
offer evidence of this email. If it were true, under the circumstances in which it was revealed,
The Government offers even further basis to vacate this judgment due to the untimely and
inappropriate nature of it’s supposed disclosure.

The court should take note that on February 9th the Defense received Exhibit 40.9 consisting of
44 pages as well as Exhibit 40.2 consisting of 312 pages. None of which was this supposed
disclosure of this evidence.

On February 10 the Defense received another three exhibits from the Government 40.1 – 6. On
Sunday, February 11th the Defense received nine government exhibits; the least of which
consisted of four pages and the largest of which consisted of 3,632 pages.

The next day February 12th the trial began. The 44 pages to which Tthe Government refers was
not among the more than 5000 pages the Defense received in the four days leading up to start
of the trail. The Government does not provide proof of this email or the existence of these 44
pages within the 515 pages received on February 9th. The Defendant was not advised of the
any problem with video evidence, it had already been told does not exist. Neither is the
appearance of a DVR in a picture taken, featuring dozens of other items in the store, a notice
which later bars access to its contents.


The Rules of Discovery provide for timely disclosure. If the rules do not discourage the
government from delayed disclosure until the last minute the rule would be useless. US v.
Burke, 571 F.3d 1048, 1056(10 th Cir.2009) cert denied, 130S.Ct. 565,175L.Ed.2d 391(2009).

“A document production was deemed not timely where a memo was produced among five
reams of paper labeled 3500 material quotation mark delivered sometime on the Friday before
the Monday, at a time presumably when a conscientious defense lawyer would be preoccupied
working on an opening statement and witness cross examinations.”US. v. Gill, 297F. 3-D 93,
105 Dash 107 (2d. Circuit 2002).

Mr. Shah’s counsel received the equivalent of 10 reams of paper, one day before opening
statements. This boarders upon Prosecutorial Misconduct.


                          The Evidence was not Equally Unavailable

The Government submits that the evidence was somehow “equally unavailable” to both the
Defense and The Government. Equal unavailability would've meant that the Defense had
access to the DVR and its contents when the defendant appeared in the Government’s office
approximately eleven days before trial. The Government contends that the Defense did not ask
again. The Defendant contends that the Government did not respond truthfully when specifically
asked twice.

The Defense made a specific request and regardless of the state of such evidence, the
Government is not alleviated of its obligation to provide it, merely by asserting that was trying to
provide it to the Defendant it but did so too late for him to use it.


          The Government Concedes that the Evidence is Material to Punishment

The Government confines its argument to the materiality of the evidence towards guilt, while at
the same time pointing to the Forensic accountants testimony that the calculation of losses
included August 2016, the same dates shown in this video. The Government ignores the
violation of due process for suppressed evidence which is material to punishment. The
government’s forensic expert included in her calculations of the loss those August 2016, $26
and above transactions specifically shown in this evidence.
This is an alleged economic crime. The court is expected to arrive at a figure which will in turn
result in an offense level. The court will then be aided by the offense level and the sentencing
table to arrive at punishment, if any. These video captures of actual transactions cross all
realms of materiality and should be considered by the jury first for guilt them by the court for
punishment, if still necessary. Any transaction shown on this video that Defense can disapprove
reduces however marginally the associated losses. The court cannot however accept the
untested assertions that the video depicts further criminal conduct, without hearing from the
Defendant shown in the video and any other corroborating witness he may be able to produce
from the video. No more reliable physical evidence exists with which the court can add or
subtract. Justice does not result from an abbreviated exercise. Due process must be either
waived or followed. The Government cannot waive it for Mr. Shah, neither by its words which
are relied upon or its actions, which make The Defendants awareness too late.

The Government asked the court to broaden its focus from the $362 that the jury found to
postulate its way to $1.7 million in losses. Then the Governments ask the court to limit its focus
again and put blinders on to ignore August 2016. These dates and these transactions are
specifically included in the calculation of the losses and therefore are directly material to the
court’s calculation. It is not as The Government suggests, an appropriate use of the courts
discretion to focus on the small amount proven, them broaden its focus to see a large figure
alleged, then then again limit its focus again to exclude evidence again. To choose where to
look or ignore what can be seen, will always result in an unjust finding. The Rules of Discovery
Process was to be the vanguard of Due Process.

                    The Alledged $8 Illegal transaction shown actually
                undermines the basis for the 1.7-Million-dollar loss estimate.

The Government’s has introduced an $8.00 illegal transaction. It contends that this makes their
1.7-million-dollar loss estimate “likely conservative”. This is actually faulty reasoning. By
establishing an illegal $8.00 transaction the Government opens almost every transaction to its
spurious claim of illegality. Over these 5 days, 78 of all transactions were above $8. That’s over
half of all the 142 totals. Unless it contends that the $8 transaction is an aberration, the
Government has shown its calculations of losses to be even more random and speculative. It
has debunked its own theory.

The Government is required, where it can, to prove a fraudulent wire, not a figure that
represents the average of all transactions and start there. Nor can the assert that loss be based
upon an average when compared to other store, without regard to location, reputation,
friendless of service, offerings, discounts and a plethora of factors that go into a customer’s
choices. The court can have even less confidence in the 1.7 million now. Without proof, the
court must consider that the number can just as likely go down as it can go up.

This video evidence is that further proof, for a jury and the court. It offers context, pattern, it
proportions responsibility among the accused and gives the jury an insight into 5 typical days at
Corner Groceries. One week does not year make, but it resembles a week and offers a clearer
path to postulate a month’s losses and so forth. It offers a more reasoned way to arrive at
losses than taking one transaction occurring in one day and leaping to the six-year figure for
which that Mr. Shah is supposed to be held accountable.

The Government’s loss theory collapses where every transaction is just as likely to be illegal in
its estimate as any other. The Government’s complicated inventory and sales analysis also
failed as unreliable from its inception, where the Forensic Accountant agreed that cash sales
were not counted. Yet again, this video evidence proves material to illustrate typical cash to
SNAP ratios which can only help the jury or the court.

The Government could never point to any transactions or groups of transactions with any
greater degree of certainty than any other. It has thrown the whole range of transactions now to
the discretion of the court. 1.7 Million now goes as far out of the window as $59,000 in losses
comes in as a possibility. Neither highs or lows being more proven than the other. The
Government has helped the court to recognized that this new evidence is more relevant to
understanding typical Customer and Defendant behaviors whether criminal or not. All else is
conjecture.

Because the Defendant is entitled to his property in his defense- because the jury is entitled to
witness actual transactions in evaluating guilt and, because the court is entitled to the benefit of
any degree of certainty in its loss calculations to arrive at punishment, this evidence warrants a
new trial.

The Government asserts that there was only one transaction over $26 on this video evidence
which was legitimate. The court has the benefit of three transactions that the government
contents are fraudulent. It must be apparent that the court and a jury would require additional
testimony to conclude that these transactions amount to wire fraud. It is not only the video which
the defendant was denied but it was the witnesses as well as The Defendant’s own opportunity
to testify which was withheld from him.

Even the Government admits:

       “However, in support of the defendants claim, there is a scat single, transaction for at
       actual food in the amount of $30.36.’
       (Government’s Response page 11).

       The Defendant can assert and prove 78 transactions above $8.01. This is not a question
       of the preponderance of the evidence, but for everyone assertion of fraud, the Defense
       can now provide dozens of seemingly similar transactions for deeper analysis and closer
       scrutiny. This is what the jury is entitled to see, that they could not before, with only a
       single visual portraying him, and leaving out the context of compelling customers.
This evidence that the Defense seeks to have considered is even more compelling than that in
Brady itself. Brady spoke of a statement helpful to the Defendant. This video evidence is
hundreds of actions of the Defendants and depicts doing what he is charged with doing. Even
an eye witness is not more reliable than a clear replay.


 While Always Available, The Video Became Evident During Trial on February 13th,2018

The court would have been able to compel The Government to provide access to it. It is
probably for reasons of the potential delay that the Government withheld it. Its clear now that the
Government thought the evidence was useless for most of the time it was in their possession.
The unique thing about digital evidence is that its access is time stamped, leaving a digital trail.
This video indicates it was first accessed on February 13th, 2018.-the day after the start of the
trial. The time stamp markings show the first days were viewed on the 13th. Them the next on
the 14th. and so forth. When it first became available, on February 13th, that is the third time the
Government failed the court. The Government made no mention of it, despite knowing it had a
continuing duty to correct the previous representations. To the extent it could comply with Brady
and Rule 16 it should must. It’s suppression of the evidence was truly complete then.

The Governments Chief Investigating Officer in December 2017 described this video evidence
as “The Linchpin of their case. (See Government’s Exhibit C, page 8). However, when it
became viewable after the start of trial in February, it was as compelling as anyone could
imagine. The problem was it was not the case that the Government had prepared at that point,
so they sat on it… for six months.

The fourth and final suppression was this willful blindness, when it became viewable while still
standing before the court. They did not advise the court of its existence or change of character
or provide it to the Defense. The Government suggests that the best evidence of the alleged
crime is now ancillary to the search for truth since the matter is now determined, as if the ends
justify the means.


The question of whether it makes this evidence is more likely to change the result is not the sole
applicable question here. The case that The Government put on would not win in the face of this
evidence. They would be forced to put on an entirely different one, but so would the Defendant
be armed with a piece of evidence for which he is more capable of speaking on and defending
himself. The ability to convey what happened, and speak on it, to one’s own salvation or peril, is
the essence of Due Process. This alone could justify a new trial and it is proof positive that Due
Process must remain the considered end and means.
                                           Conclusion

The New Video Evidence was intentionally suppressed in several ways. Its materiality toward
the issue of guilt and punishment is beyond dispute. The government mischaracterizes what it
depicts but concedes that it contains some exculpatory evidence. There is much more, but the
view from the bench of the witness would pale in comparison to the live testimony which this
evidence also begets. The video does not prove wire fraud alone and on its face, rather it is and
gives rise to exculpatory evidence. The evidence of materiality to punishment is equally clear
and uncontradicted by the Government. This court, any court, would benefit from such evidence
to help to calculate losses which directly lead to punishment.

The Government’s withholding of this evidence could have been lawful and avoided if it had
openly declared the existence and condition of the evidence, both while it was unviewable
beyond its control, but especially when it became viewable and useful. Then the Governments
silence exceeded the mere violation of Brady and Rule 16. For this deprivation, the Defendant
should be allowed a new fairer trial with his property and Due Process intact. The Jury, The
Court and the interest of justice will be served by vacating the judgment and granting a new trial.




Respectfully Submitted,
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By: /s/Leonard H. Bennett
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